
Upon consideration of the petition filed on the 16th day of June 2006 by Petitioner (Bonnie Terrell) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th day of August 2006."
Upon consideration of the alternative petition filed by Petitioner (Bonnie Terrell) on the 16th day of June 2006 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th day of August 2006."
